Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 1 of 14




                   EXHIBIT 6
      Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 2 of 14




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
JOEL RICH and MARY RICH,                                       :   Civil Action No. 1:18-cv-02223
                                                               :
                                    Plaintiffs,                :
                                                               :
                              v.                               :
                                                               :
FOX NEWS NETWORK, LLC, MALIA                                   :
ZIMMERMAN in her individual and professional                   :
capacities, and ED BUTOWSKY, in his individual :
and professional capacities,                                   :
                                                               :
                                    Defendants.                :
-------------------------------------------------------------- X

              PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION
             OF DOCUMENTS TO DEFENDANT FOX NEWS NETWORK, LLC

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs Joel Rich

 and Mary Rich (collectively, “Plaintiffs”) request that Defendant Fox News Network, LLC

 (“Fox”) produce the following documents for inspection and copying, within thirty (30) days of

 service, at the offices of Susman Godfrey LLP, 1301 Avenue of the Americas, 32nd Floor, New

 York, New York 10019, or at such other location as the parties may mutually designate in

 writing.




 5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 3 of 14




                                DEFINITIONS AND INSTRUCTIONS

        1.         The definitions and rules of construction set forth in Federal Rule of Civil

Procedure 34 and Rule 26.3 of the Local Civil Rules of the United States District Court for the

Southern District of New York (the “Local Civil Rules”) are hereby incorporated and shall apply

to Plaintiffs’ First Set of Requests for Production of Documents to Defendant Fox (hereinafter,

the “Requests”). These definitions shall apply throughout the Requests without regard to

capitalization.

        2.         In addition to the definitions and rules of construction set forth in Local Civil

Rule 26.3, to bring within the scope of the Requests all documents that might otherwise be

construed to be outside of their scope, the following additional definitions and rules of

construction shall apply: (i) the masculine, feminine, or neutral pronoun shall not exclude other

genders; (ii) the word “including” shall be read to mean “including without limitation”; (iii) the

present tense shall be construed to include the past tense and vice versa; (iv) references to

employees, officers, directors, or agents shall include both current and former employees,

officers, directors, or agents; and (v) the use of the singular form of any word includes the plural

and vice versa.

        3.         As used in these requests, the following terms are to be interpreted in accordance

with the following definitions:

                   a.     All/Any/Each: The terms “all,” “any,” and “each” have the meaning set

forth in Local Civil Rule 26.3(d)(1).

                   b.     And/Or: The terms “and” and “or” have the meaning set forth in Local

Civil Rule 26.3(d)(2).




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 4 of 14




                   c.    Agreement: The term “agreement” means any oral or written contract,

arrangement or understanding, whether formal or informal, between two or more persons,

together with all modifications or amendments thereto.

                   d.    Communication: The term “communication” has the meaning set forth in

Local Civil Rule 26.3(c)(1).

                   e.    Concerning: The term “concerning” has the meaning set forth in Local

Civil Rule 26.3(c)(7).

                   f.    Defendants: The term “Defendants” means: Fox News Network, LLC,

Malia Zimmerman, and Ed Butowsky.

                   g.    DNC Wikileaks Incident: The term “DNC Wikileaks Incident” refers to

the events leading up to and including the publication by Wikileaks of emails and attachments of

the Democratic National Committee (“DNC”) in 2016.

                   h.    Document: The term “document” has the meaning set forth in Local Civil

Rule 26.3(c)(2).

                   i.    Elected Official: The term “Elected Official” means any current, former,

or prospective (past or present) official for elected office, and any staff member, agent, or

member of any campaign, administration, or office of any current, former, or prospective elected

official.

                   j.    Employee: The term “Employee” means, without limitation, current and

former officers, directors, executives, managers, sales personnel, secretaries, clerical staff,

messengers, or any other person paid directly or indirectly by You.

                   k.    Electronically Stored Information/ESI: The terms “electronically stored

information” or ESI refer to any portion of data available only on a computer or other device




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 5 of 14




capable of storing electronic data. “Electronically stored information” includes, but is not limited

to, email (whether conducted intra-company using company email addresses or conducted

through an individual, non-company account (e.g., Bloomberg, Gmail, Yahoo!, or AOL)),

spreadsheets, databases, word processing documents, images, presentations, application files,

executable files, log files, and all other files present on any type of device capable of storing

electronic data. Devices capable of storing electronically stored information include, but are not

limited to: servers, desktop computers, portable computers, handheld computers, flash memory

devices, wireless communication devices, pagers, workstations, minicomputers, mainframes, and

all other forms of online or offline storage, whether on or off company premises. ESI is meant to

include instant messages (such as but not limited to Signal, Cisco Jabber, IBM Sametime, Wickr,

ICQ, Kik, BBM, Gchat, Slack, and similar types of messages), cell phone text messages (SMS

messages and MMS messages), voicemail messages, and similar types of messages. ESI is

also meant to include any records of such communications or messages, including phone records.

ESI is meant to include any social media communication (such as but not limited to Twitter,

Facebook, and Periscope). For any document kept in electronic form, the term “document”

includes any metadata associated with the document.

                   l.   Fox: The term “Fox” means Fox News Network, LLC and its past or

present subsidiaries, affiliates, attorneys, agents, representatives or other persons acting on behalf

of Fox, including but not limited to any local affiliates or contributors, whether paid or unpaid.

                   m.   Law Enforcement: The term “Law Enforcement” means any current or

former member of any government organization devoted to investigation or enforcement of law,

including, but not limited to the D.C. Metropolitan Police Department, the Federal Bureau of




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 6 of 14




Investigation, the Central Intelligence Agency, any District Attorney office, and any United

States Attorney office.

                   n.   Meeting: The term “meeting” means the contemporaneous presence of

two or more persons (whether in person or via any electronic method of communication

including all telephonic, computer, and electronic-assisted communications), whether such

presence was pre-arranged or by chance, formal or informal, business or personal, or occurred in

connection with or as part of some other activity or purpose.

                   o.   Person: The term “person” has the meaning set forth in Local Civil Rule

26.3(c)(6).

                   p.   Retraction: The term “Retraction” shall refer to Fox’s retraction of the

Zimmerman News Article, which occurred on May 23, 2017, and stated “[o]n May 16, a story

was posted on the Fox News website on the investigation into the 2016 murder of DNC Staffer

Seth Rich. The article was not initially subjected to the high degree of editorial scrutiny we

require for all our reporting. Upon appropriate review, the article was found not to meet those

standards and has since been removed.”

                   q.   Retraction Review: The term “Retraction Review” shall refer to the

“appropriate review” referenced by Fox in the Retraction.

                   r.   Rich Family: The term the “Rich Family” means Joel, Mary, Aaron, or

Seth Rich, together, individually, or in any combination.

                   s.   Rich/Wikileaks News Items: The term “Rich/Wikileaks News Items”

means any article, interview, segment or other news item whether or not ultimately published or

aired, including, but not limited to all such materials that relate or refer to both Seth Rich and




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 7 of 14




Wikileaks and aired or published or contemplated to be aired or published on foxnews.com, the

Fox News television station, or the Washington, D.C. local Fox affiliate.

                   t.     You/Your: The terms “you” or “your” means Fox News Networks, LLC

and its past or present subsidiaries, affiliates, attorneys, agents, representatives or other persons

acting on behalf of Fox, including but not limited to any local affiliates or contributors, whether

paid or unpaid.

                   u.     Zimmerman News Article: The term “Zimmerman News Article” shall

mean, each of the two articles authored by Malia Zimmerman and published by Fox News on

May 16, 2017. If used in the plural (“Zimmerman News Articles”), this term shall mean both the

articles, together.

        4.         Unless otherwise directed, these requests seek documents dating from May 1,

2016 to the present.

        5.         Any document bearing on any sheet any marks which are not a part of the original

text (including, by way of example and not by way of limitation, initials, stamped indicia,

comment, or notation of any character) is to be considered a separate document from the original

for the purposes of these Requests.

        6.         If any document is no longer in existence, state for each such document the type

of document, the information contained therein, the date upon which the document ceased to

exist, the circumstances under which the document ceased to exist, the location where the

document was destroyed, the identity of all persons having knowledge of the circumstances

under which the document ceased to exist, and the identity of all persons having knowledge or

who had knowledge of the document's contents.




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 8 of 14




        7.         In producing documents and ESI, You are requested to furnish all documents,

ESI, or things in Your possession, custody or control, regardless of the physical location of the

documents or ESI, or whether such documents or ESI or other materials are possessed directly by

You or your directors, officers, agents, employees, representatives, subsidiaries, managing

agents, affiliates, investigators, or by your attorneys or their agents, employees, representatives,

or investigators.

        8.         Except as otherwise stated herein, all ESI shall be produced in a format to be

agreed upon by the parties.

        9.         If You object to producing a document or electronically stored information, You

must do as follows:

                   a.     If You withhold a document or electronically stored information under

claim of privilege (including the work product doctrine), provide the information set forth in

Local Rule 26.2 (a): (i) the type of document, e.g., letter or memorandum; (ii) the general subject

matter of the document; (iii) the date of the document; and (iv) such other information as is

sufficient to (a) identify the document for a subpoena duces tecum, including, where appropriate,

the author of the document, the addressees of the document, and any other recipients shown in

the document, and, where not apparent, the relationship of the author, addressees, and recipients

to each other; and (b) evaluate the claim of privilege.

                   b.     If You object for any reason other than privilege, You must identify the

withheld document and, in addition to the information requested above, state the reason for

withholding the document.

                   c.     If You object to a request on the ground that production would be unduly

burdensome, You must produce all responsive documents to that request that You can produce




5777172v1/015730
     Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 9 of 14




without undue burden and explain which documents are being withheld and the exact nature of

the burden.

        10.        When a document contains both privileged and non-privileged material, the non-

privileged material must be disclosed to the fullest extent possible without thereby disclosing the

privileged material. If a privilege is asserted with regard to part of the material contained in a

document, You must clearly indicate the portions as to which the privilege is claimed. When a

document has been redacted, identify as to each such document the reason for the redaction. Any

redaction must be clearly indicated on the face of the redacted document.

        11.        When producing audio recordings or transcripts thereof, indicate for each

recording or transcript the file name of the recording or transcript and the date and starting and

ending time thereof. Plaintiffs request that responsive ESI contained on the audio recordings or

audio tapes be produced either in mutually-agreed upon native audio file format, (such as .wav)

or as searchable text on External USB 2.0 hard drives with clear breaks delineating between

messages/conversations. Plaintiffs further request that Defendants provide all catalog

information concerning the audio recordings or tapes, including the following: date of

conversation, custodian, conversation participants, conversation description, time of conversation

and original file format. Plaintiffs also request that Defendant’s conversion process, including

tools used to create searchable text be documents and be shared with Plaintiffs to assure quality

in this process. Plaintiffs are willing to meet and confer on the actual text deliverable formatted

and load file specifications once Defendant shares more details about the quantity and current

format of these audio files.

        12.        Furnish all documents or material in your possession, custody or control,

regardless of whether such documents or materials are possessed directly by your or Your




5777172v1/015730
    Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 10 of 14




directors, officers, agents, employees, representatives, subsidiaries, managing agents, affiliates,

investigators or by Your attorneys or their agents, employees, representatives or investigators.

        13.        These document requests are continuing and require supplemental responses as

specified in Federal Rule of Civil Procedure 26(e) if You (or any person acting on Your behalf)

obtain additional information called for by the request between the time of the original response

and the time set for trial. Each supplemental response shall be served on Plaintiffs no later than

thirty (30) days after the discovery of additional, responsive information, and in no event shall

any supplemental response be served later than sixty (60) days before trial.

        14.        Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

be produced as they are kept in the usual course of business or segregated as responsive to a

specific request enumerated in this First Request for Production of Documents.

                        REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

All documents and/or communications relating or referring to the Rich Family or any member of

the Rich Family.


REQUEST FOR PRODUCTION NO. 2:

All documents and/or communications relating or referring to any sources for any

Rich/Wikileaks News Item.


REQUEST FOR PRODUCTION NO. 3:

All documents regarding and/or communications with or about Ed Butowsky, including but not

limited to: (1) any Agreements, informal or formal between Mr. Butowsky and Fox; (2) any

compensation exchanged between Fox (including any employee, agent, or affiliate) and Mr.




5777172v1/015730
    Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 11 of 14




Butowsky; (3) any articles authored or appearances by Mr. Butowsky on Fox; and (4) any

communications of any kind. There is no time limit on this request.


REQUEST FOR PRODUCTION NO. 4:

All documents regarding and/or communications with or about Rod Wheeler, including but not

limited to (1) any Agreements, informal or formal between Mr. Wheeler and Fox; (2) any

compensation exchanged between Fox (including any employee, agent, or affiliate) and Mr.

Wheeler; (3) any articles authored or appearances by Mr. Wheeler on Fox; and (4) any

communication of any kind between You and Mr. Wheeler. There is no time limit on this

request.


REQUEST FOR PRODUCTION NO. 5:

All documents regarding and/or communications with or about any Law Enforcement in

connection with the DNC Wikileaks Incident. There is no time limit on this request.


REQUEST FOR PRODUCTION NO. 6:

All documents reflecting the organization of Fox, and its relationship with any affiliates, as of

June 1, 2016, including but not limited to organizational charts.


REQUEST FOR PRODUCTION NO. 7:

All documents and/or communications regarding or reflecting any investigation into the sources

or support for the Zimmerman News Articles both before and after publication, including but not

limited to the Retraction Review, the Retraction, and any other investigation related to

publication of any Rich/Wikileaks News Items.


REQUEST FOR PRODUCTION NO. 8:




5777172v1/015730
    Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 12 of 14




All documents and/or communications reflecting persons at Fox (including employees, agents,

contributors, independent contractors or other individuals) who were involved in any way with

any Rich/Wikileaks News Items, including but not limited those who investigated, wrote, edited,

or produced such Rich/Wikileaks News Items, and those who managed or supervised Malia

Zimmerman, Marina Marraco, Sean Hannity, and/or any other Fox employee or contributor

involved in any Rich/Wikileaks News Item.


REQUEST FOR PRODUCTION NO. 9:

Any documents and/or communications with or regarding Sy Hersh.


REQUEST FOR PRODUCTION NO. 10:

Any documents and/or communications reflecting Fox’s policies regarding journalistic integrity,

investigation of sources, treatment of sources, disclosure of sources, interaction with law

enforcement, interaction with government officials, internal review processes, treatment of paid

and unpaid contributors.



Dated: April 26, 2018                             Respectfully submitted,

                                      By:         s/Arun Subramanian____________________
                                                  Arun Subramanian

                                                  MASSEY & GAIL L.L.P.
                                                  Leonard A. Gail (pro hac vice pending)
                                                  Eli J. Kay-Oliphant (EK8030)
                                                  Suyash Agrawal (SA2189)
                                                  50 East Washington Street, Suite 400
                                                  Chicago, IL 60602
                                                  Telephone: (312) 283-1590
                                                  lgail@masseygail.com
                                                  ekay-oliphant@masseygail.com
                                                  sagrawal@masseygail.com

                                                  SUSMAN GODFREY L.L.P.


5777172v1/015730
    Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 13 of 14




                                                 Arun Subramanian (AS2096)
                                                 Elisha Barron (EB6850)
                                                 Gloria Park (GP0913)
                                                 1301 Avenue of the Americas, 32nd Floor
                                                 New York, NY 10019
                                                 Telephone: (212) 336-8330
                                                 asubramanian@susmangodfrey.com
                                                 ebarron@susmangodfrey.com
                                                 gpark@susmangodfrey.com

                                                 Attorneys for Plaintiffs Joel and Mary Rich




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served

on the following counsel of record via email, this 26th day of April, 2018, as indicated below:

ATTORNEY(S) FOR DEFENDANT FOX NEWS NETWORK LLC:
Kevin T. Baine
Email: kbaine@wc.com
Katherine A. Petti
Email: kpetti@wc.com
WILLIAMS & CONNOLLY LLP
725 Twelfth St. N.W.
Washington, DC 20005

Dane H. Butswinkas
Email: dbutswinkas@wc.com
Joseph M. Terry
Email: jterry@wc.com


WILLIAMS & CONNOLLY LLP
650 Fifth Avenue
Suite 1500
New York, NY 10019


ATTORNEY(S) FOR DEFENDANT MALIA ZIMMERMAN:
David Stern
Email: david.stern@dechert.com
DECHERT LLP



5777172v1/015730
    Case 1:18-cv-02223-GBD-SN Document 104-6 Filed 01/31/20 Page 14 of 14




633 West 5th Street
Suite 4900
Los Angeles, CA 90071-2013

Katherine M. Wyman
Email: katherine.wyman@dechert.com
DECHERT LLP
1095 Avenue of the Americas
New York, New York 10036-6797


ATTORNEY(S) FOR DEFENDANT ED BUTOWSKY:
David B. Harrison
Email: dharrison@spiroharrison.com
SPIRO HARRISON
830 Morris Turnpike, 2nd Floor
Short Hills, NJ 07078



                                         s/ Elisha Barron_________________
                                         Elisha Barron




5777172v1/015730
